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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                       :     CHAPTER 11
                                                :
   ATLANTA LIGHT BULBS, INC,                    :     CASE NO. 22-52950-PMB
                                                :
            Debtor.                             :     JUDGE BAISIER


                      NOTICE OF FILING OF LIST OF CREDITORS

            PLEASE TAKE NOTICE that the creditors listed on Exhibit “A” have been

   added to the creditor matrix.


            Dated: July 21, 2022.


                                            /s/ S. Gregory Hays
                                           S. Gregory Hays
                                           Chapter 7 Trustee
                                           Hays Financial Consulting, LLC
                                           2964 Peachtree Road, NW, Ste 555
                                           Atlanta, GA 30305
                                           (404) 926-0060
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                                   Exhibit “A” Follows
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ELECTRIC SUPPLY & EQUIPMENT        HORMEL FOODS CORP                   CINTAS CORPORATION -MASTER
ATTN: ACCOUNTS PAYABLE             P O BOX 900                         6800 CINTAS BLVD CINCINNATI
P.O. BOX 20308                     AUSTIN, MN 55912                    CINCINNATI, OH 45262
GREENSBORO, NC 27420


ASTORIA FOOT CARE GROUP            COMMERCIAL AND CUSTOM               SUPER H MART DISTRIBUTION
31-17 DITMARS BLVD SUITE 1         CABINET                             2550 Pleasant Hill Rd
ASTORIA, NY 11105                  2111 KILMAN DRIVE                   STE 300
                                   TUCKER, GA 30084                    Duluth, GA 30096


FLORIDA DEPARTMENT OF              DIVERSE MARKETING                   john crosby
CORRECTIONS                        2050 N. Stemmons Frwy.              534 white pelican
P.O. BOX 13600                     Suite 439 & 421                     vero beach, FL 32963
TALLAHASSEE, FL 32317              Dallas, TX 75207, TX 75207


John T Carter                      Di-Coat Corporation                 Nick Bohacz
PO BOX 772                         42900 W. 9 Mile Rd.                 27 JUNIPER DR
Selma, AL 36702                    Novi, MI 48375                      RICHBORO, PA 18954-1625



STEPHEN MULLADY                    David Paratore                      Western Securities
1100 CUMBERLAND RD                 8601 Bell Mountain Dr               2626 Howell St.
Chattanooga, TN 37419              Austin, TX 78730                    Suite 850
                                                                       Dallas, TX 75204


BREIT INDUSTRIAL HOLDINGS          Trent Weaver                        ABRAMS GROUP CONSTRUCTION
LLC (STREAM REALTY)                2204 Chestnut Road                  3645 Hwy 90
P.O. BOX 1232                      Birmingham, AL 35216                Milton, FL 32571
Hicksville, NY 11802-1232


Gregory Taylor                     ROBERT N JONES MD                   Dennis Miller
2000 Strathallan Woods Place       217 FAIRWAY DRIVE                   8260 Lakeland Dr.
Innisfil, ON L9S 4T7               NEW ORLEANS, LA 70124               Granite Bay, CA 95746



KC ELECTRONIC DISTRIBUTORS         Barton's Home Upgrading             TRUE VISION SYSTEMS
186 NORTH BELLE MEAD ROAD          121 Penny Lane
East Setauket, NY 11733            MCDONOUGH, GA 30253



Dave Gomoll                        Sound Services-RH Nolte             John Jimenez DDS
3323 Dekalb Ln                     Po Box 18                           4831 SOQUEL DR
Neenah, WI 54956                   Bylas, AZ 85530                     SOQUEL, CA 95073-2428



McNeely Electric, Inc.             John Keating                        RKB Maintenance Solutions
8201 Alcorn Circle                 6122 36TH AVE NW                    350 Motor Parkway
Austin, TX 78748                   SEATTLE, WA 98107-2626              Suite 412
                                                                       Hauppauge, NY 11788
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Harry Ruffino                    Tony Celli                          Christopher Cooper
5109 W. Lemon St.                28 E. Spring st                     6956 Whitewater Ln
Tampa, FL 33609                  cookeville, TN 38501                Lincoln, NE 68521



Jennifer W Gordona DDS LLC       Pro Source Industrial, LLC          Daniel Gray
105 East Ohio avenue             DBA. Mechanical Services            867 Valley Street
Mount Vernon, OH 43050           3806 Calhoun Ave                    Dayton, OH 45404
                                 Chattanooga, TN 37407


Ocean Glass Inn                  Verum Analytics Industries          Flo-control
37299 Rehoboth Avenue            18916 Bonanza Way                   80 Center Rd SE
Rehoboth Beach, DE 19971         Gaithersburg, MD 20879              Cartersville, GA 30121



Restaurant Technologies          Sajjadian Medical Corp.             Scott Long
2250 Pilot Knob Road             496 Old Newport Blvd                8321 SNOWDEN OAKS PL
Ste 100                          Suite 3                             LAUREL, MD 20708
Mendota Heights, MN 55120        Newport Beach, CA 92663


SILVERTON FIRST AID SQUAD        MedCura Medical Center              Ilhom Islomov
86 MAINE STREET                  5582 Memorial Dr.                   1985 E 15TH ST APT D4
Toms River, NJ 08753-1780        Lithonia, GA 30032                  BROOKLYN, NY 11229-3343



Edward J. Lyons                  Winfred Wiencke                     District850
847 Dewitt Road                  2133 Newport Place NW               2662 Fleischmann Road
Webster, NY 14580                Washington, DC 20037                Tallahassee, FL 32308



vonee pawlowski                  Santosh Iyer                        scott palmi
PO Box 872                       28 LEWISTON CIR                     106 Cemetery Road
Hiawassee, GA 30546              LANCASTER, PA 17601-4822            Putney, VT 05346



B B Storage LLC                  Dennis Jewell                       Rameshwar Deokaran
1811 W Jackson St                14993 sw Scarlett dr                555 E 90TH ST
Knoxville, IA 50138-1020         Tigard, OR 97224                    NEW YORK, NY 10128-7803



Jan Schwartz                     Todd McAreavey                      Elaine Cox
0175N 450 East                   2605 Fieldstone Trl                 3907 - 103RD STREET CT
Bluffton, IN 46714               Ponca City, OK 74604                GIG HARBOR, WA 98332-8814



Jack Eiseman                     Benz Research and Development       Eileen Guptill
466 MILL COVE DR                 6447 Parkland Drive                 1387 NYE ST
Dahlonega, GA 30533              Sarasota, FL 34243                  CHARLESTON, SC 29407-5121
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Sharon A. Colado                    RUSSELL LACEY                       Robin Hopper
628 DAVID ST                        P. O. BOX 575                       PO Box 670549
LAKE IN THE HILLS, IL 60156-5205    BOAZ, AL 35957                      Chugiak, AK 99567



Peggy O'Halloran                    Jackpot Junction Casino Hotel       Connie Chen
6598 Springpath Lane                PO Box 420                          4011 Crest Ct
San Jose, CA 95120                  Morton, MN 56270                    Pleasanton, CA 94588



Current Electric                    Steven weiher                       Chinook Engineering
305 Wells St                        S76W13722 MCSHANE DR                860 S Windrose Drive
Greenfield, MA 01301                MUSKEGO, WI 53150-3931              Coupeville, WA 98239



Joe De leon                         Edward Blank                        ANDREA MCKEEVER
1210 north Richmond Road            PO Box 180446                       4370 GUNNIN RD
Bay #5                              Boston, MA 02118                    Norcross, GA 30092
Wharton, TX 77488


Monty Benhaim                       Taniel m Cameron                    Ben Hartshorn
10611 Garden Grove Ave              9 York circle                       490 JARVIS DR
Northridge, CA 91326                tmcameron@hargray.com               MORGAN HILL, CA 95037-2809
                                    Bluffton, SC 29909


Tyler MacGeorge                     Jermaine Williams                   Michael Fannin
1031 Miller Dr.                     2 Tibbits Ave                       46 Gema
Altamonte Springs, FL 32701         White Plains, NY 10606              San Clemente, CA 92672



WellMax Center for Preventive       Sarah Markowitz                     Noah Scher
Medicine                            328 North Main St                   559 Jacobs Place
45200 Club Dr                       Minoa, NY 13116                     Carbondale, CO 81623
Suite B
Indian Wells, CA 92210-8837
chirag patel                        shaun kennedy                       Sparkles Smyrna
628 U.S. 250                        2070 kalakaua ave                   666 Smyrna Hill Dr
Norwalk, OH 44857                   Honolulu, HI 96815                  Smyrna, GA 30082



Wildwood Services LLC               JR Metzger                          RONALD CARPENTER
2242 Otter Creeek Ln                3101 Concord ROAD                   6 COLLEGE HILL RD
Sarasota, FL 34240                  Aston PA, PA 19014                  CANAAN, CT 06018-2313



JASON MARTON                        Ron Conti                           Boise Diamond Tables
471 Copano Ridge Rd                 905 Harvest Lane                    3949 Adams Street
Rockport, TX 78382                  Indiana, PA 15701                   Garden City, ID 83714
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Gatewood Schools                     Robert Beaulieu                     Naitram Gopaul
139 Phillips Dr.                     349 Black Brook Road                407 Keys Ferry Rd
Eatonton, GA 31024                   Goffstown, NH 03045                 McDonough, GA 30252



Rolando Martinez                     Quality Industries, Inc.            NBT Bank
4307 9th St.                         1595 Ocean Ave                      120 North Keyser Ave
Rockford, IL 61109                   Unit B1                             Scranton, PA 18504
                                     Bohemia, NY 11716


Fusco's The Spot                     Fiona Lin                           City of Dekalb Streets Dept.
4432 E Bristol Rd                    75 BRIAR HILL RD                    1316 Market St
Feasterville Trevose, PA 19053       NORWICH, CT 06360-6440              Dekalb, IL 60115-3533



Fairfield Inn and Suites             Max Bodden                          Eric Macbeth
1355 Mall of Georgia Blvd.           106 Bowsprit Drive                  503 E Maple St
Buford, GA 30519                     North Palm Beach, FL 33408          River Falls, WI 54022-2516



Ashley Van Gelder                    Lewis Milner                        Allison Meehan
3307 Stone Heather Ct.               19711 Edgecliff Drive               8723 stony field way
Herndon, VA 20171                    Euclid, OH 44119                    louisville, KY 40299



Greg Mosely                          Cityplex                            Orchid Cove at Palm Harbor
5257 Highway 280 East                7777 South Lewis Avenue             2600 Highlands Blvd N
Pembroke, GA 31321                   Tulsa, OK 74171                     Palm Harbor, FL 34684



David Amheiser                       TBF Computing                       James M Sharp
3782 Wenkel Ford                     1090 Cobb Industrial Dr             53 ALPINE GEM LN
Leslie, MO 63056                     Marietta, GA 30066                  TROUT CREEK, MT 59874-9410



James E. O'Brien                     Elite Aviation c/o Donna Tipton     Z&R LIGHTING
14 DAY ST                            18600 EDISON AVE
BLOOMFIELD, NJ 07003-4410            CHESTERFIELD, MO 63005-3644



ricky mcintyre                       James Eifler                        PRINCIPAL HANDY SOLUTIONS
310 South Lake Avenue                2800 N Flagler D
Ridgeland, MS 39157                  West Palm Beach, FL 33407



PPG AEROSPACE                        Wiredup Electric Inc.               Bradley Harken
6022 Corporate Way                   14723 Weeks Dr.                     2808 South Radio Lane
Indianapolis, IN 46278               La Mirada, CA 90638                 Spokane, WA 99223
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Tuyen Nguyen                     HOLIDAY INN EXPRESS -               POINTS ELECTRICAL
23 Susan Drive                   CADILLAC                            5500 Oakbrook Pkwy ste 210
Pelham, NH 03076                 7642 SOUTH US. 131                  NORCROSS, GA 30093
                                 CADILLAC, MI 49601


ATLANTA BOTANICAL GARDENS        BECKER ADVENTIST SCHOOL             BOSTON UNIVERSITY
ATTN: ACCOUNTS PAYABLE           ATTN: ACCOUNTS PAYABLE              ATTN: ACCOUNTS PAYABLE
1345 PIEDMONT AVE NE             3567 COVINGTON HIGHWAY              25 BUICK STREET
ATLANTA, GA 30309                DECATUR, GA 30032                   BOSTON, MA 2215


BRIARLAKE BAPTIST CHURCH         BUFORD HWY. FARMERS MKT             CORPUS CHRISTI CATHOLIC
ATTN: ACCOUNTS PAYABLE           ATTN. ACCOUNTS PAYABLE              CHURCH
3715 LAVISTA RD                  P. O. BOX 620533                    ATTN: SALLY YADAV
DECATUR, GA 30033                ATLANTA, GA 30362                   600 MOUNTAIN VIEW DRIVE
                                                                     STONE MOUNTAIN, GA 30083
DECATUR PRESBYTERIAN             ECKARDT ELECTRIC                    EMORY
CHURCH                           ATTN. ACCOUNTS PAYABLE              UNIVERSITY/PHARMACOLOGY
ATTN ACCTS PAYABLE               3690 NORTH PEACHTREE ROAD           PO Box 3807
205 SYCAMORE ST                  ATLANTA, GA 30341                   Scranton, PA 18505
DECATUR, GA 30030
GA CENTRAL ELECTRICAL            METROPOWER INC                      INFINITE ENERGY CENTER
100 Commerce Drive               ATTN: ACCOUNTS PAYABLE              ATT: Jan Mitchell - 678-620-4151
P.O. Box 723                     PO BOX 5228                         6400 SUGARLOAF PARKWAY
Tyrone, GA 30290                 ALBANY, GA 31706                    DULUTH, GA 30097


KENDALL ELECTRIC, INC (ALL 42)   WAGES & SONS                        AMERICASMART
5101 S. SPRINKLE ROAD            ATTN: HANK WAGES                    475 S. Grand Central Parkway
PORTAGE, MI 49002-2049           P.O. BOX 605                        Suite 1615
                                 STONE MOUNTAIN, GA 30086            Las Vegas, NV 89106


DECATUR DIGGS                    ALLGOOD PLUMBING &                  GREEK ORTHODOX CATHEDRAL
141 GRAPE ST NE                  ELECTRIC                            2500 CLAIRMONT ROAD
ATLANTA, GA 30312                5238 Royalwoods Parkway Suite 190   ATTN: Victor Rodi - 678-478-8548
                                 Tucker, GA 30084                    ATLANTA, GA 30329


NORTH DECATUR PRESBYTERIAN       ATLANTA RONALD MCDONALD             DIAMOND RESTAURANT
CHURCH                           HOUSE                               SERVICE, INC
611 MEDLOCK RD                   ATTN: ACCOUNTS PAYABLE              849 EDMONDSON RD
DECATUR, GA 30033                795 GATEWOOD ROAD                   MONROE, GA 30656
                                 ATLANTA, GA 30329
GREATER ATLANTA CHRISTIAN        DIVINE MORTUARY SERVICES            GREEN GLOW DOCK LIGHT
SCHOOL                           5620 HILLANDALE DR                  4604 49th St. North
1575 INDIAN TRAIL RD             LITHONIA, GA 30058                  Suite 122
NORCROSS, GA 30093                                                   Saint Petersburg, FL 33709


FIRST SOUTHERN MANAGEMENT        CHRIST OUR HOPE                     ANDRUS ELECTRICAL
LLC                              CATHOLIC CHURCH                     SOLUTIONS
1842 INDEPENDENCE SQUARE STE     1786 WELLBORN ROAD                  10750 PLANTATION DRIVE
C                                LITHONIA, GA 30058                  JOHNS CREEK, GA 30022
ATLANTA, GA 30338
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RELIANT REAL ESTATE               NULIGHT CONSULTING                  CAPITAL ELECTRIC COMPANY
MANAGEMENT                        PO Box 3406                         PO BOX 945650
15600 Old 41 Rd                   Loganville, GA 30052                Maitland, FL 32794
Naples, FL 34110


ACE CASH EXPRESS                  COMMERCIAL LIGHTING                 Entertainment Technology Inc
3804 Gunn Hwy                     COMPANY                             155 Atlanta Hwy
Suite B                           8201 NORTH HIMES AVE                Loganville, GA 30052
Tampa, FL 33618                   TAMPA, FL 33614


BATAVIA PUBLIC SCHOOLS            City of West Palm Beach             Connie Liles Auto Parts
804 MAIN STREET                   1045 charlotte ave                  1127 W.Orange Ave
BATAVIA, IL 60510                 west palm beach, FL 33401           Tallahassee, FL 32310



Michel Moos                       Ronald Thon                         BLUEGRASS IRRIGATION &
946 NORTH AVE NE                  1010 May Lane                       LIGHTING INC
ATLANTA, GA 30306                 Yankton, SD 57078                   4855 Hills and Dales Rd NW
                                                                      CANTON, OH 44708


Mark Allen                        Quest Diagnostics.com               CAPITAL CITY ELECTRICAL SRV
3640 Pallos Verdas Dr.            1 Malcolm Ave.                      1346 Oakbrook Dr
Dallas, TX 75229                  Teterboro, NJ 07074                 Suite 170A
                                                                      Norcross, GA 30093


SOUTHLAND ELECTRIC, INC           CAPP, INC.                          LOWE ELECTRIC SUPPLY
ATT: SCOTT NELSON                 PO Box 127                          COMPANY
2239 DILLARD STREET               Clifton Heights, PA 19018-0127      ATTN: ACCOUNTS PAYABLE
TUCKER, GA 30084                                                      P O BOX 4767
                                                                      MACON, GA 31208
MAINTENANCE SUPPLY                SYNOVOS                             ITV ASSOCIATES, INC.
ATTN: ACCOUNTS PAYABLE            16888 STATE ROUTE 706               1845 SOUTH LEE COURT
6910 Brasada Dr.                  MONTROSE, PA 18801                  BUFORD, GA 30518
Houston, TX 77085


MARTIN SPROCKET & GEAR, INC.      C.N.ROBINSON LIGHTING SUPPLY        NORTHROP GRUMMAN
ATTN: ACCOUNTS PAYABLE            ATTN. ACCOUNTS PAYABLE              1201 CONTINENTAL BLVD
P.O. BOX 886                      4318 WASHINGTON BLVD.               CHARLOTTE, NC 28273
SCOTTDALE, GA 30079               BALTIMORE, MD 21227


B&H ELECTRIC AND SUPPLY           AMERICAN LIGHTING SUPPLY            SOUTHERN EQUIPMENT SALES
1330 HWY 41 BYPASS                ATTN: ACCOUNTS PAYABLE              ATTN: ACCOUNTS PAYABLE
GRIFFIN, GA 30224                 P.O. BOX 1761                       1896 FORGE STREET
                                  LILBURN, GA 30047                   TUCKER, GA 30084


ACCO BRANDS - ONTARIO             ABB Installation Products Inc.      ABB Installation Products Inc.
PO BOX 842166                     PO Box 28073                        1811 Hymus Blvd
BOSTON, MA 02284                  Chicago, IL 60673                   Dorval, QC H9P1JK5
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AC ELECTRONICS                       Acuity Brands Lighting              ADT Commercial
3401 AVENUE D                        PO Box 100863                       PO Box 382109
ARLINGTON, TX 76011                  Atlanta, GA 30384                   Pittsburgh, PA 15251-8109



AFLAC                                ALL METRO SUPPLY (#656.00)          ALLIANCE SPORTS GROUP (NEBO)
ATTN: REMITTANCE PROCESSI            3755 HEWATT COURT                   DBA NEBO TOOLS
1932 WYNNTON ROAD                    SNELLVILLE, GA 30039                P O BOX 203246
COLUMBUS, GA 31999-0797                                                  DALLAS, TX 75320-3246


AMAX LIGHTING 65600                  AMERICAN EXPRESS                    AMERICAN TACK AND
10268 SANTA FE SPRINGS RD            PO BOX 650448                       HARDWARE
SANTA FE SPGS, CA 90670              DALLAS, TX 75265-0448               P. O. BOX 85077 (65600)
                                                                         CHICAGO, IL 60680-0851


American Ultraviolet                 ANTHONY                             AT&T CAROL STREAM *835
212 S. Mt. Zion Road                 2388 COLLECTIONS CENTER DR          P O BOX 5019
Lebanon, IN 46052                    ACCT # 102260                       CAROL STREAM, IL 60197-5019
                                     CHICAGO, IL 60693


AT&T *1882 (79020)                   ATG ELECTRONICS                     ATLAS LIGHTING PROD (#65600)
PO BOX 105262                        10700 7TH STREET                    P. O. BOX 740471
ATLANTA, GA 30348-5262               RCH CUCAMONGA, CA 91730             ATLANTA, GA 30374-0471



ATR LIGHTING                         AXIS LED GROUP, LLC                 Barron Lighting Group (EXITRONIX)
PO BOX 67                            L-3790                              PO BOX 8271
RICHLAND, MO 65556                   COLUMBUS, OH 43260-3790             PASADENA, CA 91109-8271



BLC America (formerly Green Energy   BREIT Stone Mountain Owner LLC      BULBRITE INDUSTRIES
Lighting                             PO Box 208046                       P. O. BOX 419890
16310 ARTHUR ST.                     Dallas, TX 75320-8046               BOSTON, MA 02241-9890
CERRITOS, CA 90703


BULBTRONICS (#65600)                 CADMET, INC.                        CANDELA CORPORATION
45 BANFI PLAZA N.                    P.O. BOX 24                         FILE #1033
FARMINGDALE, NY 11735                MALVERN, PA 19355                   1801 WEST OLYMPIC BLVD
                                                                         PASADENA, CA 91199-1033


Capital One Spark                    CBC LIGHTING                        Chase Card Services
PO Box 71083                         3025 A BATES RD                     P. O. BOX 1423
Charlotte, NC 28272-1083             MONTREAL, QC H3S 2W8                Charlotte, NC 28201-1423



Chubb                                CITY ELECTRIC SUPPLY(C.E.S.)        CITY LIGHTS (65600)
PO Box 382001                        PO Box 131811                       PO BOX 6586
Pittsburgh, PA 15250-8001            Charleston Division                 PHOENIX, AZ 85005
                                     Dallas, TX 75313
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COMCAST                           Comcast (VOIP)                   CommerceHub
P O BOX 530098                    PO Box 37601                     25736 Network Place
ATLANTA, GA 30353-0098            Philadelphia, PA 19101-0601      Chicago, IL 60673-1257



Cooper Lighting (Eaton)           Creditsafe USA Inc               CREE LIGHTING
28362 Network Place               PO BOX 789985                    75 REMITTANCE DRIVE
Chicago, IL 60673-1283            PHILADELPHIA, PA 19178-9985      SUITE 6403
                                                                   CHICAGO, IL 60675-6403


DE ANDRADE MANGIERI LLC           DEKALB COUNTY (SAN)              DEKALB COUNTY (WTR)
ATTN JEFFERY M MANGIEI ESQ        P. O. BOX 105942                 P. O. BOX 71224
2 RAVINIA DR STE 1530             DECATUR, GA 30348-5942           Charlotte, NC 28272-1224
ATLANTA, GA 30346


DEKALB COUNTY TAX                 Drew Bowen Electric              EDWIN GAYNOR CORPORATION
COMMISSIONER                      5231 Copelan Rd                  200 CHARLES STREET
P. O. BOX 100004                  Watkinsville, GA 30677           STRATFORD, CT 06615
DECATUR, GA 30031-7004


EIKO LTD.                         ELONG INTERNATIONAL USA.         ENCAPSULITE INTERNAT. (#65600)
8596 SOLUTION CENTER              1200 W. CROSBY ROAD              P. O. BOX 1086
CHICAGO, IL 60677-8005            CARROLLTON, TX 75006             ROSENBERG, TX 77471



ENERGETIC LIGHTING,INC            ESL Vision, LLC                  EYE LIGHTING
13445 12TH STREET                 1136 South 3600 West             9150 Hendricks Road
CHINO, CA 91710                   Suite 400                        Mentor, OH 44060
                                  Salt Lake City, UT 84104


FANLIGHT CORPORATION              FEDERAL EXPRESS                  FEDEX FREIGHT EAST
2000 S. GROVE AVE, BLDG B         P.O. BOX 660481                  DEPT CH
ONTARIO, CA 91761                 DALLAS, TX 75266-0481            PO BOX 10306
                                                                   PALATINE, IL 60055-0306


FEELUX                            Ford Credit                      FULHAM COMPANY
3000 NORTHWOODS PKWY              PO Box 650574                    P.O. BOX 845686
SUITE 165                         Dallas, TX 75265-0574            Los Angeles, CA 90084-5686
NORCROSS, GA 30071


FUSECO INC (75600)                GEORGIA DUPLICATING              GEORGIA POWER COMPANY
1865 Corporate Dr., Ste 210       PRODUCTS, INC. (Xerox)           (#79530)
Norcross, GA 30093                P O BOX 3547                     96 ANNEX
                                  MACON, GA 31205                  ATLANTA, GA 30396-0001


GLOBAL INDUSTRIAL COMPANY         GREEN CREATIVE                   HALCO LIGHTING Technologies
29833 Network Place               PO Box 930495                    LLC
Chicago, IL 60673-1298            Atlanta, GA 31193-0495           PO BOX 936822
                                                                   ATLANTA, GA 31193-6822
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HATCH TRANSFORMERS                       Hep Group USA                    HOLIDAY DIVISION (#65600)
7821 WOODLANDS CENTER BLVD               12245 Florence Avenue            ACTION LIGHTING
TAMPA, FL 33614                          Santa Fe Springs, CA 90670       310 ICE POND DR
                                                                          BOZEMAN, MT 59715


HONYA Lighting                           HOWARD INDUSTRIES                HUBBELL LIGHTING, INC.
Garden City NY 11530 United States       P. O. BOX 11407                  DEPT CH 14175
Garden City, NY 11530                    BIRMINGHAM, AL 35246-1132        PALATINE, IL 60055



Ignite Industrial Consignment            Imaging Center                   INDUSTRIAL PKG CORP (75601)
Attn: Jeff Heilman                       22647 Ventura Blvd.              PO BOX 740438
568 George Bishop Pkwy                   Ste. 661                         ATLANTA, GA 30374-0438
Myrtle Beach, SC 29579                   Woodland Hills, CA 91364


INTERLIGHT                               INTERMATIC                       INTERSTATE ALL BATTERIES WH
7939 NEW JERSEY AVENUE                   P.O.BOX 71596                    PO BOX 1909
HAMMOND, IN 46323-3040                   CHICAGO, IL 60694                SUWANEE, GA 30024



IRON MOUNTAIN                            J.D. INTERNATIONAL               Jiawei Technology (USA) Limited
P O BOX 915004                           P. O. BOX 668755                 29470 Union City Blvd.
DALLAS, TX 75391-5004                    POMPANO BEACH, FL 33066          Union City, CA 94587



JL Lighting                              KEYSTONE TECHNOLOGIES            LADE ELECTRICAL
4505 Peachtree Industrial Blvd           PO BOX 69159                     SUPPLY(#65600)
STE D                                    Baltimore, MD 21264-9159         US ELECTRICAL SERVICES, INC,
Berkeley Lake, GA 30092                                                   ATTN: LBS
                                                                          PO BOX 101569
                                                                          ATLANTA GA 30392-1569
LEDVANCE LLC *429484*                    LIGHT EFFICIENT DESIGN           LIGHTING ASSOCIATES
PO BOX 5163                              188 NORTHWEST HWY                3600 SWIFTWATER PARK DRIVE
Carol Stream, IL 60197-5163              SUITE 301                        SUWANEE, GA 30024
                                         CARY, IL 60013


Lighting Supply (formerly LIGHT          LITETRONICS (#65600)             LUMIRAM (#65600)
BULB DISTRIB.)                           6969 West 73rd Street            707 Executive Blvd. 1A
L-4058                                   BEDFORD PARK, IL 60638           Valley Cottage, NY 10989
Columbus, OH 43260-4058


LUTRON ELECTRONICS (NO                   MAJOR SUPPLY INTERNATIONAL       MARKET GROUP VENTURES
DROPSHIP)                                5400 NW 35TH Terrace             (#65600)
P O BOX 643782                           SUITE 104                        P. O. BOX 40
PITTSBURGH, PA 15264-3782                Ft. Lauderdale, FL 33309         SHAWNIGAN LAKE, BC VOR 2WO


Maxair Mechanical LLC                    MAXLITE/SK AMERICA               McGahren Law Firm, LLC
3435 Breckinridge Blvd                   PO BOX 844825                    6171 Crooked Creek Road
Ste 120                                  BOSTON, MA 02284-4825            Peachtree Corners, GA 30092
Duluth, GA 30096
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MICROLAMP                              MILLER OEM SUPPLIES (#65600)     MILWAUKEE LIGHT BULB
2954 N. W. 60TH STREET                 3612 N. 16TH STREET              P. O. BOX 125
FT LAUDERDALE, FL 33309                PHOENIX, AZ 85016                OAK CREEK, WI 53154



Modern Forms                           MORRIS PRODUCTS INC              MULTI LITE USA (#65600)
23550 Network Place                    53 CAREY ROAD                    172 W. Providencia, Unit 101
Chicago, IL 60673-1235                 QUEENSBURY, NY 12804             Burbank, CA 91502



NICOR, INC                             NORCROSS ELECTRIC SUPPLY         NORMAN LAMPS
2200 MIDTOWN PL NE                     4190 Capital View Dr             P. O. BOX 3550
STE A                                  Suwanee, GA 30024                ST CHARLES, IL 60174
ALBUQUERQUE, NM 87107


Northwest Exterminating                NORTHWEST MUTUAL                 NSI Industries
830 Kennesaw Ave                       FINANCIAL NETWORK                9730 Northcross Center Ct
Marietta, GA 30060                     ATTN: AUBREY VAUGH               Huntersville, NC 28078
                                       3438 PEACHTREE RD SUITE 1200
                                       ATLANTA, GA 30326
OFFICE DEPOT                           Old World Industries, LLC        ON HOLD MEDIA GROUP
PO BOX 88040                           P.O. BOX 204549                  3001 DALLAS PARKWAY
CHICAGO, IL 60680-1040                 DALLAS, TX 75320                 SUITE 220
                                                                        FRISCO, TX 75034


Oracle America, Inc.                   Orbit Industries, Inc.           OSRAM SYLVANIA INC
Bank of America Lockbox Services       2100 South Figueroa Street       P O BOX 2114
15612 Collections Center Drive         Acct# 2409                       ACCT# 428412
Chicago, IL 60693                      Los Angeles, CA 90007            CAROL STREAM, IL 60132-2114


OTTLITE TECHNOLOGIES                   Oxem, LLC                        PHILIPS (FIXTURES) Luminairies
1715 N. WESTSHORE BLVD                 2413 Eastwood Village Dr.        (Sesco)
TAMPA, FL 33607                        Stockbridge, GA 30281            P.O. Box 100194
                                                                        Atlanta, GA 30384


Philips (LAMPS) Lighting               PHILIPS EMERGENCY LIGHTING       Philips Lighting Electronics
P.O. Box 100194                        (#A000881)                       (ADVANCE)
Atlanta, GA 30384                      P.O. BOX 100282                  P.O. Box 100194
                                       ATLANTA, GA 30384-0282           ATLANTA, GA 30384


Photometric Design                     PITNEY BOWES GLOBAL              POWERSELECT INC
1066 CHARTLEY DR SW                    PO BOX 371887                    15602 COMMERCE LANE
LILBURN, GA 30047                      PITTSBURGH, PA 15250-7887        HUNTINGTON BEACH, CA 92649



PQL (#656.00)                          QuikTrip Fleetmaster (QT)        R&L Carriers
2285 WARD AVENUE                       PO Box 4337                      PO Box 10020
SIMI VALLEY, CA 93065                  Carol Stream, IL 60197-4337      Port William, OH 45164-2000
         Case 22-52950-pmb   Doc 121 Filed 07/21/22 Entered 07/21/22 16:35:39         Desc Main
                                    Document    Page 13 of 14
REECE SUPPLY CO OF GA (#65600)   RF Smart (ICS, Inc)                    RIZE ENTERPRISES
5755 OAKBROOK PARKWAY            PO Box 638345                          PO BOX 1311
NORCROSS, GA 30093               Cincinnati, OH 45263-8345              BRENTWOOD, NY 11717



ROBERT TAITZ                     RST VISIONS IN COLOR                   SATCO PRODUCTS
3860 Falls Landing Drive         8655 Tamarack Ave                      900 N.W. 159TH DRIVE
Johns Creek, GA 30022            Sun Valley, CA 91352                   MIAMI, FL 33169



SCANA ENERGY                     SEBCO INDUSTRIES                       Semperlite
PO BOX 100157                    2621 S. Main Street                    141 Cassia Way
COLUMBIA, SC 29202-3157          SANTA ANA, CA 92707                    Suite A, Room 100
                                                                        Henderson, NV 89014


SENGLED                          SITLER'S SUPPLIES (#65600)             Spot Lighting
155 Bluegrass Valley Pkwy        111 WEST VIEW DRIVE                    PO Box 20860
Suite 200                        WASHINGTON, IA 52353                   Long Beach, CA 90801
Alpharetta, GA 30005


STANDARD ENTERPRISES             STAPLES ADVANTAGE                      SUNSHINE LIGHTING
DBA WATT-MAN LED LIGHTING        DEPT ATL                               744 CLINTON STREET
P.O. BOX 1345                    P O BOX 405386                         BROOKLYN, NY 11231
DECATUR, GA 30031                ATLANTA, GA 30384-5386


TECHNICAL CONSUMER               TECHNO USA LLC                         THE HARTFORD (#75850)
PRODUCTS                         1580 Boggs Road                        P. O. BOX 660916
3691 SOLUTIONS CENTER            Suite 500                              DALLAS, TX 75266-0916
CHICAGO, IL 60677-3006           Duluth, GA 30097


The Retirement Advantage         THHC LIGHTING                          TOPAZ LIGHTING (65600)
47 Park Place                    1411 North Batavia Street, Suite 212   PO Box 7247, Mail Code 7333
Suite 850                        Orange, CA 92867                       Philadelphia, PA 19170-0001
Appleton, WI 54914


TOPSTAR INTERNATIONAL            TOPSTAR INTERNATIONAL                  TRC Electroncis
291 Kettering Drive              13668 VALLEY BLVD                      4171 Stony Lane
Ontario, CA 91761                SUITE D-2                              Doylestown, PA 18902
                                 CITY INDUSTRY, CA 91746


UNITED PARCEL SERVICE (#65702)   UNIVERSAL LIGHTING                     US BANK EQUIPMENT FINANCE
P. O. BOX 7247-0244              (MAGNETEK)                             P O BOX 790448
PHILADELPHIA, PA 19170-0001      PO BOX 5510                            ST LOUIS, MO 63179-0448
                                 CAROL STREAM, IL 60197-5510


USHIO AMERICA                    van der Veen, Hartshorn & Levin        Verizon Connect Fleet USA LLC
6045 SOLUTION CENTER             1219 Spruce St.                        PO Box 15043
CHICAGO, IL 60677-6000           Philadelphia, PA 19107                 Albany, NY 12212-5043
         Case 22-52950-pmb          Doc 121 Filed 07/21/22 Entered 07/21/22 16:35:39        Desc Main
                                           Document    Page 14 of 14
WageWorks, Inc. (take care)             WESTINGHOUSE LIGHTING              WORLDWIDE SPECIALTY
1100 Park Place, 4th floor              (ANGELO)                           6759 OAK RIDGE COMMERCE WY
San Mateo, CA 94403                     P. O. BOX 780984                   AUSTELL, GA 30168
                                        Philadelphia, PA 19178-0984


XTRA LITE LIGHTING                      ZLED Lighting                      GEORGIA DEPT OF REV (S&U Tax)
6300 ST LOUIS STREET                    1536 Kings Highway North           SALES AND USE TAX DIVISION
MERIDIAN, MS 39307                      Cherry Hill, NJ 08034              P. O. BOX 105296
                                                                           Atlanta, GA 30348-5296


Signify North America Corporation       WORLDWIDE SPECIALTY LAMP,          J.D. International Lighting, Inc.
c/o Parnell & Parnell, P.A.             LLC                                C/O Hays Potter & Martin, LLP
P.O. Box 2189                           6065 ROSWELL ROAD SUITE 540        3945 Holcomb Bridge Road Suit 300
Montgomery AL 36102-2189                ATLANTA GA 30328                   Peachtree Corners GA 30092


JL LIGHTING, LLC                        CBC Lighting Inc.                  Keystone Technologies, LLC
10475 Medlock Bridge Road               6065 ROSWELL ROAD SUITE 540        3530 Smoke Rise
Suite 820                               ATLANTA GA 30328                   Lawrenceville GA 30044
Johns Creek GA 30097


Versapay                                DAVID L. WOLOSHIN                  Daniel J. Devlin
548 Market Street, #43812               ASTOR WEISS KAPLAN &               VAN DER VEEN, HARTSHORN &
San Francisco, CA 94104                 MANDEL LLP                         LEVIN
                                        200 SOUTH BROAD ST, SUITE 600      1219 Spruce Street
                                        PHILADELPHIA, PA 19102             Philadelphia, PA 19107
Angela Little Hamilton                  M. Kyle Floyd                      Michael T. Rafi
Parnell & Parnell                       Stenger & Stenger                  Rafi Law Firm LLC
1200 Hwy 74 S., Ste 6-172               2618 East Paris Ave, SE            1776 Peachtree St NW, Ste 423-South
Peachtree City, GA 30269                Grand Rapids, MI 49546             Atlanta, GA 30309


Bryan S Kaplan                          Stephen P. Fuler                   Tyler Dillard
Kaplan Legal Services                   Fuller Sloan, LLC                  1960 Satellite Blvd, Ste 4000
6065 Roswell Rd, Ste 540                10475 Medlock Bridge Rd, Ste 820   Duluth, GA 30097
Atlanta, GA 30328                       Johns Creek GA 30097


A Christian Wilson                      Small Business Administration      Small Business Administration
Simpson, Uchitel & Wilson LLP           c/o CSC                            Disaster Assistance Processing Ctr
PO Box 550105                           801 Adlai Stevenson Drive          14925 Kingsport Road
Atlanta, GA 30355                       Springfield, IL 62703              Fort Worth, TX 76155
